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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                      Plaintiff,

v.
                                                      Case No. 24-MJ-407-CDL
VICTORIA LEANNE WILLIAMS,

                      Defendant.

                            Motion for Revocation of Release

     The United States moves for pretrial detention of Defendant, pursuant to 18
U.S.C. § 3148.

     1. Eligibility of Case. This case is eligible for a detention order because there is
clear and convincing evidence to believe that the Defendant has violated conditions
of her release as set forth in the Petition for Warrant on Pretrial Release.

     2. Reason for Detention. The Court should detain Defendant because (check all
that apply):
     ☒ There are no conditions of release which will reasonably assure Defendant's
       appearance as required.
     ☐ There are no conditions of release which will reasonably assure the safety of
       any other person and the community.
     ☒ Defendant is unlikely to abide by any condition or combination of conditions
       of release.
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   Dated this 10th day of June, 2024.


                                        Respectfully submitted,

                                        CLINTON J. JOHNSON
                                        UNITED STATES ATTORNEY


                                        /s/ Kate Stidham Brandon
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